Case 19-51973-lrc      Doc 11     Filed 02/15/19 Entered 02/15/19 16:00:27          Desc Main
                                  Document      Page 1 of 2


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                                                CASE NO.: 19-51973-lrc
                                                                              CHAPTER 13
 Allen Laurence Richardson,

    Debtor.

 _________________________________/

              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
       PLEASE TAKE NOTICE THAT the undersigned counsel hereby appears on behalf of
SELENE FINANCE LP ("Secured Creditor"). Pursuant to Rule 2002 of the Federal Rules of
Bankruptcy Procedure, the undersigned requests all notices given or required to be given and all
papers required to be served in this case to creditors, any creditors committees, and any other
parties-in-interest, be sent to and served upon the undersigned counsel and the following be
added to the Court's Master Mailing List:
                                  Andrea Betts, ESQ.
                                  RAS CRANE, LLC
                       10700 ABBOTT'S BRIDGE ROAD, SUITE 170
                                 DULUTH, GA 30097

                                            RAS CRANE, LLC
                                            Attorney for Secured Creditor
                                            10700 Abbott's Bridge Road, Suite 170
                                            Duluth, GA 30097
                                            Telephone: 470-321-7112
                                            Facsimile: 404-393-1425

                                            By: _\S\Andrea Betts_
                                              Andrea Betts, Esquire
                                              Georgia Bar No. 432863
                                              Communication Email: abetts@rascrane.com
Case 19-51973-lrc     Doc 11     Filed 02/15/19 Entered 02/15/19 16:00:27          Desc Main
                                 Document      Page 2 of 2


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 15, 2019, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been
served via CM/ECF or United States Mail to the following:

HOWARD P. SLOMKA
SLIPAKOFF & SLOMKA, PC
OVERLOOK III - SUITE 1700
2859 PACES FERRY RD, SE
ATLANTA, GA 30339

ALLEN LAURENCE RICHARDSON
574 HARALSON DRIVE SW
LILBURN, GA 30047

MELISSA J. DAVEY
MELISSA J. DAVEY, STANDING CH 13 TRUSTEE
260 PEACHTREE STREET, NW
SUITE 200
ATLANTA, GA 30303



                                           RAS CRANE, LLC
                                           Attorney for Secured Creditor
                                           10700 Abbott's Bridge Road, Suite 170
                                           Duluth, GA 30097
                                           Telephone: 470-321-7112
                                           Facsimile: 404-393-1425

                                           By: _\S\Andrea Betts_
                                             Andrea Betts, Esquire
                                             Georgia Bar No. 432863
                                             Communication Email: abetts@rascrane.com
